                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION – DETROIT

  In Re:    Leyah Elaine Jefferson                             Chapter 13
                                                               Case No. 18-53757
                                Debtor(s)                      Judge: Mark A. Randon
                                               /

                Debtor’s Chapter 13 Confirmation Hearing Certificate

         At the next confirmation hearing in this case, the debtor intends to: [Check ONE
 of the following]

        1.     Request confirmation of the debtor’s plan, because all timely objections of
        creditors and the trustee have been resolved. I have emailed to the trustee a
        proposed order confirming the plan, as required in paragraph 2 of the Chapter 13
        Case Management Order.

        2.     Request confirmation of the debtor’s plan, even though all timely
        objections have not been resolved. I have emailed to the trustee a proposed order
        confirming the plan, as required in paragraph 2 of the Chapter 13 Case
        Management Order. The parties are at an impasse in attempting to resolve these
        objections despite all reasonable efforts. The following are: (a) the parties whose
        timely objections have not been resolved; (b) their unresolved objections; and (c)
        the legal and factual issues that must be resolved by the Court in connection with
        confirmation:

        Trustee Objections:
        Issues:
        Creditor # 1:       Objections:       Issues:
        Creditor # 2:       Objections:       Issues:

        3. X Request an adjournment of the confirmation hearing to 05/22/2019, due to
        the following good cause:
                Fifth Third Bank has requested an appraisal to determine the value of
                Debtor’s real property in order to determine value with regards to
                avoidance of its lien. Debtor seeks additional time for the appraisal to be
                completed.


        4.     Dismiss the case. [The Court will construe this as a motion by the debtor
        to dismiss the case under Fed.R.Bankr.P. 1017(f)(2), and the Court will enter an
        order of dismissal and the case will be removed from the docket, unless the case
        was previously converted from Chapter 7, 11, or 12 to Chapter 13. In that event,
        a separate motion to dismiss must be filed within 10 days.]



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         5.     Convert the case to chapter 7. [The debtor must promptly file a separate
         notice of conversion under Fed.R.Bankr.P. 1017(f)(3), and pay the filing fee for
         such notice. Such notice of conversion will cause the case to be converted
         without the entry of an order of conversion.]


 Dated this Saturday, January 05, 2019.
                                                      /s/ Brian P. Dunne P-71177
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